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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 ARCADIO HERNANDEZ and                             §
 GEORGINA LOPEZ,                                   §
                                                   §
      Plaintiffs,                                  §
                                                   §
 v.                                                §     CIVIL ACTION NO. 3:24-CV-1469-B
                                                   §
 WESTLAKE SERVICES LLC,                            §
 MVCONNECT, LLC, and THE                           §
 CAR SOURCE, LLC DBA HIDE                          §
 AND SEEK AUTO RECOVERY,                           §
                                                   §
      Defendants.                                  §

                                    STATUS REPORT ORDER
                        (Joint Status Report Due TUESDAY, NOVEMBER 12, 2024)

          In accordance with Federal Rules of Civil Procedure 16(b) and 26(f), the Court enters this

 order to promote early settlement of this action and to facilitate entry of the scheduling order. Early,

 meaningful discussions are critical to effective case management and to the just resolution of

 disputes. With that in mind, the Court directs the parties to carefully review this order and strongly

 emphasizes the importance of strictly complying with its directives. Perfunctory meetings and generic

 or vague status reports are not acceptable and will prompt the Court to order an additional meeting

 and report. Accordingly, pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, counsel are

 directed to meet and confer for the purpose of submitting a JOINT status report as follows:

                                    I. MEETING REQUIREMENTS

         Lead counsel for each party (or a designee attorney with appropriate authority) must meet

face-to-face at a mutually agreeable location, and no later than seven (7) calendar days before the

Joint Status Report due date set forth above. It is unacceptable to submit a proposal in which counsel

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recite that they were unable to meet in the required manner. Advance Court approval must be

obtained to eliminate the requirement that counsel meet face-to-face. The requirement of a face-to-

face meeting does not apply if one or more parties are proceeding pro se. In that instance, the Rule

26(f) conference may be conducted telephonically, by mail, or in another form of communication

that will accomplish the conference requirement.

        Counsel must confer regarding the matters specified in Rule 26(f) and by this order.

                                   II. REPORT REQUIREMENTS

        The report shall be FILED no later than TUESDAY, NOVEMBER 12, 2024, and shall

 address in separate paragraphs each of the following matters:

       1.       A brief statement of the nature of the case, including the contentions of the parties;

       2.       Any challenge to jurisdiction or venue, including any procedural defects in the

                removal, if this case was removed;

       3.       Any pending motions;

       4.       Any matters which require a conference with the court;

       5.       Likelihood that other parties will be joined or the pleadings amended;

       6.       (a) An estimate of the time needed for discovery, with reasons, (b) a specification of

                the subjects on which discovery may be needed, and (c) whether discovery should be

                conducted in phases or be limited to or focused upon particular issues;

       7.       Any issues related to disclosure or discovery of electronically stored information,

                including the form or forms (i.e., TIF, PDF, or native; with or without metadata;

                searchable or not) in which it should be produced;

       8.       Any issues relating to claims of privilege or of protection as trial-preparation material,



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             including–if the parties agree on a procedure to assert such claims after

             production–whether they will be asking the Court to include their agreement in an

             order;

    9.       What changes, if any, should be made in the limitations on discovery imposed under

             the Federal rules or by local rule, and what other limitations should be imposed;

    10.      Any other orders that should be entered by the Court under Rule 26(c) or Rule 16(b)

             and (c);

    11.      Proposed deadlines with specific dates that limit the time to (a) join other parties and

             to amend the pleadings; (b) file motions, including summary judgment and other

             dispositive motions; (c) complete discovery; and (d) designate expert witnesses and

             make the expert disclosures required by Rule 26(a)(2);

    12.      Requested trial date, estimated length of trial, and whether jury has been demanded;

    13.      Whether the parties will consent to trial (jury or non-jury) before a United States

             Magistrate Judge per 28 U.S.C. § 636(c);

    14.      Progress made toward settlement, and the present status of settlement negotiations.

             This must be a detailed report. Do not submit a generic recitation that settlement

             was discussed but was unsuccessful.;

    15.      What form of alternative dispute resolution (e.g., mediation, arbitration, summary

             jury trial, court-supervised settlement conference, or early neutral evaluation) would

             be most appropriate for resolving this case and when it would be most effective; and

    16.      Any other matters relevant to the status and disposition of this case.

    Any differences between counsel as to the status of any of the above matters must be set forth in



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the report. Failure to timely submit the status report may result in the imposition of sanctions,

including dismissal without further notice. See FED. R. CIV. P. 16(f).

                        III. JOINT RESPONSIBILITY FOR PROPOSAL

         Pursuant to Rule 26(f), the attorneys of record and all unrepresented parties that have

 appeared in the case are jointly responsible for arranging and being present or represented at the

 meeting (or for otherwise conferring if exempt from the requirement of a face-to-face meeting), for

 attempting in good faith to agree on the scheduling proposal, and for submitting the proposal to the

 Court no later than the due date set forth above.

                        IV. MANDATORY INITIAL DISCLOSURE REQUIREMENT

        The disclosures required by Rule 26(a)(1), must be made within thirty (30) days of the date

 of this order, EXCEPT as to those cases exempted under Rule 26(a)(1)(E). See FED. R. CIV. P.

 26(a)(1). The parties may not, absent Court permission, agree or stipulate to opt out of the initial

 disclosure requirement. See FED. R. CIV. P. 26(a)(1); advisory committee’s note, 2000 amendments.

                    V. ELECTRONIC CASE MANAGEMENT AND NOTICE

       All licensed attorneys are required to comply with Local Rules 5.1(e)-(f). Pro se litigants

 (non-prisoner) must register for electronic transmission (e-mail) notice of orders and judgments

 within thirty (30) days of the date this order is signed. Information about electronic noticing can

 be obtained from the Court’s website at: http://www.txnd.uscourts.gov/filing/ecf.html.

        All questions regarding this order or any scheduling matters should be directed to Judge

 Boyle’s Court Administrator at (214) 753-2740.




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    SO ORDERED.

    SIGNED: October 21, 2024.


                                     _________________________________
                                     JANE J. BOYLE
                                     UNITED STATES DISTRICT JUDGE




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